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May 2, 2023

Judge Cobb:
This letter is in regards to the sentencing of David Kaufman (22-cr-00216) . Our son

Officer Jeffrey Smith was a dedicated Metropolitan Police Officer for over 12 years. On Jan 6 he
responded to the calls for assistance at the U.S. Capitol. During his battling with the
insurrectionists he was struck in the head several times. One particular altercation took place
with David Kaufman. In the months after David Kaufman was arrested and to our surprise only
misdemeanor charges were placed on David Kaufman initially, and | assumed those charges
would be enhanced before any trial. My son and family believed in this country and believed in
the justice system. It is my opinion that at minimum Mr Kaufman should be charged with assault
of a police officer. | am imploring this court to issue a ruling of jail time. David Kaufman was
instrumental in taking the life of my 35 year old son, our family and his wife will never fully
recover from the loss of Jeff. He was a wonderful person with a beautiful soul. Please don’t let
David Kaufman’s actions go without imposing some real consequences.

Sincerely yours
Richard and Wendy Smith

 
